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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                              BLUEFIELD DIVISION

MICHAEL BARNHILL,

               Plaintiff,

v.
                                                                               1:25-cv-356
                                                            Civil Action No. __________

MOUNTAIN VALLEY PIPELINE, LLC,
a Pennsylvania limited liability company;
EQUITRANS MIDSTREAM CORPORATION,
a Pennsylvania corporation; and
EQT CORPORATION, a Pennsylvania corporation,

               Defendants.

                                    NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, Defendants Mountain Valley Pipeline, LLC

(“MVP”), The Midstream Company (f/k/a Equitrans Midstream Corporation) and EQT

Corporation (“EQT”) (collectively, unless otherwise noted, the “Defendants”), file this Notice of

Removal, removing Civil Action No. 25-C-21 from the Circuit Court of Monroe County, West

Virginia, to the United States District Court for the Southern District of West Virginia, Bluefield

Division, and in support, state as follows:

                                      Statement of Removal

       1.      On or about April 29, 2025, Plaintiff Michael Barnhill (“Plaintiff”) commenced the

above-captioned action in the Circuit Court of Monroe County, West Virginia by filing a

Complaint, which has been indexed as Civil Action No. 25-C-21 (the “Complaint”).

       2.      The West Virginia Secretary of State served a copy of the Complaint on

Defendants’ registered agent, CT Corporation System, on May 1, 2025.




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       3.      Pursuant to 28 U.S.C. § 1446(a), attached hereto as Exhibit 1 is a copy of the

Monroe County, West Virginia docket for this matter and a true and correct copy of the Summons,

Complaint and all process, pleadings and orders served on Defendants.

       4.      Defendants have not filed a responsive pleading in the Circuit Court of Monroe

County, West Virginia.

       5.      Pursuant to 28 U.S.C. § 1441(a), removal of an action originally filed in state court

is proper in “any civil action brought in a State court of which the district courts of the United

States have original jurisdiction.”

       6.      28 U.S.C. § 1331 provides that “[t]he district courts shall have original jurisdiction

of all civil actions arising under the Constitution, laws, or treaties of the United States.”

       7.      As set forth below, this Court has original jurisdiction over this action pursuant to

28 U.S.C. § 1331 because Plaintiff’s common law wrongful termination claim is completely

preempted by the anti-retaliation provision of the federal Pipeline Safety Act, 49 U.S.C. § 60129,

and, therefore, arises out of the laws of the United States.

                              Basis for Federal Question Jurisdiction

       8.      To establish federal question jurisdiction for removal purposes, the civil action

must be “founded on a claim or right arising under the Constitution, treaties or laws of the United

States . . . without regard to the citizenship or residence of the parties.” 28 U.S.C. § 1441(b).

       9.      Plaintiff’s Complaint alleges a single cause of action for common law wrongful

termination in violation of public policy. Plaintiff asserts that he was wrongfully terminated “for

raising concerns with and making complaints to Defendants related to safety issues including

improperly welded pipelines and quality of pipes as well as other PHMSA regulations.”

See Complaint ¶ 57.



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       10.     Plaintiff’s wrongful termination claim, although pleaded as a state-law cause of

action, is nevertheless a claim arising out of the laws of United States as a result of the “complete

preemption doctrine.” The “well-pleaded complaint rule” ordinarily directs the court “to look no

farther than the plaintiff's complaint in determining whether a lawsuit raises issues of federal law

capable of creating federal-question jurisdiction under 28 U.S.C. § 1331.” Custer v. Sweeney, 89

F.3d 1156, 1165 (4th Cir. 1996). However, the “complete preemption doctrine” is “an independent

corollary of the well-pleaded complaint rule, and trumps the plaintiff's characterization of his claim

by ‘convert[ing] an ordinary state common law complaint into one stating a federal claim.’” Id.

(citations omitted). The doctrine applies where Congress has acted to “so completely pre-empt a

particular area that any civil complaint raising this select group of claims is necessarily federal in

character.” Metro. Life Ins. Co. v. Taylor, 481 U.S. 58, 63–64 (1987).

       11.     The United States Congress has authorized the Pipeline and Hazardous Materials

Safety Administration (PHMSA) to regulate the safety of natural gas pipeline facilities and persons

engaged in the transportation of natural gas. 49 U.S.C. §§ 60101–60140 et seq. The PHMSA’s

enabling statute, the Pipeline Safety Act, contains an express preemption provision. See id., at §

60104. The Pipeline Safety Act also contains a comprehensive anti-retaliation provision for

whistleblower claims related to pipeline safety brought by an employee of “a person owning or

operating a pipeline facility” or “a contractor or subcontractor of such a person.” See id., at

§ 60129(a)(2). The federal cause of action articulated in § 60129 of the Pipeline Safety Act

authorizes a pipeline employee to file a whistleblower claim with the Secretary of Labor and to

enforce any order issued by the Secretary through a private cause of action. See id., at § 60129(b).


       12.     Plaintiff concedes that his claims arise from his work on an interstate pipeline, that

the pipeline is subject to PHMSA regulation, and that the alleged “substantial public policy” giving


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rise to his claims are PHMSA regulations. (See Complaint, ¶¶ 6, 7, 26-27, 30, 47, 49, 57). As such,

Plaintiff’s purported state-law whistleblower claims are preempted by the whistleblower section

of The Pipeline Safety Act.


                                       Removal Procedure

       13.     Removal of the above-captioned matter is timely under 28 U.S.C. § 1446(b) and

Federal Rule of Civil Procedure 6(a) because this Notice of Removal is filed within thirty (30)

days of receipt of the Complaint by Defendants.

       14.     Removal is properly made to the United States District Court for the Southern

District of West Virginia, Bluefield Division, under 28 U.S.C. § 1441(a), because Monroe County,

where this action is pending, is within the Southern District of West Virginia, Bluefield Division.

See 28 U.S.C. § 129(a).

       15.     Defendants will file written notice of the filing of this Notice of Removal with the

Clerk of the Circuit Court of Monroe County, West Virginia concurrently with the filing of this

Notice and Removal and will serve the same on Plaintiff pursuant to 28 U.S.C. § 1446(d).




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       WHEREFORE, by this Notice of Removal, Defendants remove this action from the

Circuit Court of Monroe County, West Virginia, and request that this action proceed as properly

removed to this Court.


                                           MOUNTAIN VALLEY PIPELINE, LLC,
                                           EQUITRANS MIDSTREAM CORPORATION
                                           and EQT CORPORATION,

                                           By Counsel


                                            /s/ Jennifer J. Hicks
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               Defendants.

                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing NOTICE OF REMOVAL was

electronically filed May 29, 2025, via the Court’s CM/ECF system, which will send a notice of

the electronic filing, and that I served the same by electronic mail and by first-class mail, postage

prepaid to the following:

                                   John-Mark Atkinson, Esquire
                                   Natalie R. Atkinson, Esquire
                                   Atkinson & Frampton, PLLC
                                  2306 Kanawha Boulevard East
                                      Charleston, WV 25311
                                       Counsel for Plaintiff




                                              /s/ Jennifer J. Hicks
                                              Jennifer J. Hicks, Esquire (WVSB #11423)




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